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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Case No.: 1:21-MJ-00016
DERRICK EVANS                                :
                                             :
               Defendant.                    :


                        NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America, by and through the United States Attorney for the

District of Columbia, informs the Court that the above-captioned matter is now assigned to

Trial Attorney Kathryn E. Fifield, detailed to the United States Attorney’s Office for the

District of Columbia. Please remove all other counsel of record in relation to Derrick Evans

and they should also be removed from the electronic notification process.



                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793


                                             By:      /s/ Kathryn E. Fifield
                                                     Kathryn E. Fifield
                                                     Trial Attorney
                                                     Detailed to the U.S. Attorney’s Office
                                                     555 4th St. NW
                                                     Washington, D.C. 20001
                                                     Kathryn.fifield@usdoj.gov
                                                     202-320-0048 (cell)
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                               CERTIFICATE OF SERVICE

       On this 29th day of March 2021, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                                     /s/ Kathryn E. Fifield
                                                    Kathryn E. Fifield




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